              Case 19-06881-JMC-13                      Doc        Filed 08/10/20            EOD 08/10/20 14:39:25                  Pg 1 of 5
 Fill in this information to identify the case:
 Debtor 1    Jonathan Trester Houck
             aka Jonathan T. Houck

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of INDIANA

 Case number 19-06881-JMC-13

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: U.S. BANK TRUST, N.A., AS TRUSTEE FOR                           Court claim no. (if known): 7-1
LSF9 MASTER PARTICIPATION TRUST
Last 4 digits of any number you use to                                            Date of payment change: 9/1/2020
identify the debtor’s account: 5495                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,997.21
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $848.76                               New escrow payment: $929.24


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Jonathan Trester Houck aka Jonathan T. Houck               Case number (if known) 19-06881-JMC-13
           Print Name        Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ Darrelyn Thomas                          Date ________________________
                                                       08/03/2020
     Signature



                    Darrelyn Thomas
  Print             _____________________________________________                                   Title    Authorized Agent for Creditor
                    First Name                    Middle Name      Last Name


  Company           Robertson, Anschutz, Schneid & Crane LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth GA 30097
                    City                                                State       ZIP Code

                                                                                                             dthomas@rascrane.com
  Contact Phone     470-321-7112                                                                    Email _____________________________




Official Form 410S1                                    Notice of Mortgage Payment Change                                                     page 2
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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on August 10, 2020, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system, and a true and correct copy has been
served via United States Mail to the following:
Jonathan Trester Houck
8426 Admirals Cove
Indianapolis, IN 46236

And via electronic mail to:

John T McManus
McManus & Associates
8131 Castleton Road
Indianapolis, IN 46250

John Morgan Hauber
Office of John M. Hauber, Chapter 13 Trustee
320 N. Meridian St., Ste. 200
Indianapolis, IN 46204

U.S. Trustee
Office of U.S. Trustee
101 W. Ohio St.. Ste. 1000
Indianapolis, IN 46204


                                                   By: /s/ Sacoria Registre
                                                   Sacoria Registre
                                                   Email: sregistre@rascrane.com




Official Form 410S1                  Notice of Mortgage Payment Change                        page 3
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